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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA

HAYES FAMILY TRUST, on Behalf of            )
Itself and All Others Similarly Situated    )
CLAYTON A. HAYES, CHRISTOPHER               )
D. HAYES, HOLLY D. HAYES,                   )
Individually and as Co-Trustees of the      )
HAYES FAMILY TRUST,                         )
                                            )
                    Plaintiffs,             )
                                            )
v.                                          )   Case No. CIV-14-0106-C
                                            )
STATE FARM FIRE AND CASUALTY                )
COMPANY, a corporation,                     )
                                            )
                    Defendant.              )

                                    JUDGMENT

      Upon consideration of the pleadings herein, the Court finds that Defendant is entitled

to Judgment. Judgment is therefore entered on behalf of Defendant and against Plaintiffs.

      DATED this 9th day of November, 2015.
